    Case 9:22-cr-80100-DMM Document 61 Entered on FLSD Docket 01/30/2023 Page 1 of 1
     Case 9:22 -cr-80100-DMM          Document 56 Entered on FLSD Docket 12/27/2022 Page 2 of 2

Financial Arrangements:

DI certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the
  transcript(s).

[RJ Criminal Justice Act: My completed AUTH-24 for government payment of transcripts has been uploaded in
    e Voucher and is ready for submission to the magistrate judge or district judge [if appointed by the district
    court] or to the circuit judge [if ordered by or appointed by the circuit court]. [A transcript of the following
    proceedings will be provided only if specifically authorized in Item 13 on the AUTH-24: Voir_Dire;
    Opening
      .  .
              and Closing Statement.s of Prosecution and Defense; Prosecution
                                                                     ''          '
                                                                                   Rebuttal; Jury Instructions.]

Ordering Counsel/Party: Michael G. Smith, Esquire
Address: 1824 Southeast Fourth Avenue, Fort Lauderdale, FL 33316
E-mail: smithlawdefend@aol.com                                            Phone No.: (954) 303-7843
I certifv that I have completed and filed Part I with the District Court Clerk and the Court of Appeals
Clerk, served all parties, AND sent a copv to the appropriate Court Reportcr(s) if ordering a transcript.
11th Cir. R. lO-l.

Date: 12/27/2022           Signature: Isl Michael G. Smith, Esquire             Attorney for: Appellant, Anton Peck


PART II.                                  Court Reporter Acknowledgment
Wthin 14 days of receipt, the Court Reporter rrust COl11)lete this Scetion, file this form with the District Court
Clerk, and send a copy to the Court of Appeals Clerk and all parties. The transcript m..1st be filed within 30 days
of the date satisfactory arrangerrents for paying the cost of the transcript were made unless the Court Reporter
obtains an extension of ti me to fi Ie the transcript.

Date Transcript Order received:       /   /h/cflo -1\ ~                                        J,
[Zfsatisfactory arrangements for pa~ing the cost of the transcript were made on:           ~&/~ ~ t,
D   Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days :_ _-'/--_ _ _ __ _ _ _ __

Estimated no. of transcript pages:             '5 tJ
Estimated filing date:     ~ /~/          c:,<_0-='3 ~
                               I    I .        I/ / / -, /2(\/) ,                                   '€/,;,/~          .I
                         Signature: ___,....
                                         ~~ -               ~
                                             . - - - -~ ~~ ...._ _ _ _ _ _ Phone No.: .                2ts?i- 2'73f
PART III.                          Notification That Transcript Has Been Filed In District Court
On the date the transcript is filed in the district court, the Court Reporter rrust complete thi~ sedion, file this
form with the District Court Clerk, and send a copy to the Court of Appeals Clerk.

I certify that the transcript has been comp1€:ted and filed w ith the di strict court on (date):
                                     . c' /J             /1   .           .. / l -
Date:   1/310µ&:, Signature: __           ~~__,::;.=------='--~....A
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                                                         Page 2 of 2
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